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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                   IN THE UNITED STATES DISTRICT COURT               August 06, 2020
                    FOR THE SOUTHERN DISTRICT OF TEXAS              David J. Bradley, Clerk
                             HOUSTON DIVISION

DAMON WATTELL and STEPHANIE           §
WATTELL,                              §
                                      §
      Plaintiffs,                     §
                                      §
v.                                    §       CIVIL ACTION NO. H-19-1188
                                      §
WELLS FARGO BANK, N.A.,               §
                                      §
      Defendant.                      §


                              FINAL JUDGMENT


      For the reasons set forth in the separate Memorandum Order

signed this day, it is

      ORDERED   and   ADJUDGED    that    Plaintiffs   Damon   Wattell       and

Stephanie Wattell shall take nothing in their action against

Defendant Wells Fargo Bank, N.A., and Plaintiffs’ claims are

DISMISSED on the merits with prejudice.

      This is a FINAL JUDGMENT.

      The Clerk will enter this Order, providing a correct copy to

all counsel of record.

      SIGNED at Houston, Texas, on this 6th day of August, 2020.




                                              EWING WERLEIN, JR.
                                          UNITED STATES DISTRICT JUDGE
